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______________________________________________________________________________

                  IN THE UNITED STATES DISTRICT COURT
                   DISTRICT OF UTAH, CENTRAL DIVISION
______________________________________________________________________________


Samuel Burningham,                             NOTICE OF VOLUNTARY DISMISSAL

       Plaintiff,
                                                Civil No.: 2:17-cv-00575-BCW
               v.
                                               Assigned to: Judge Brooke C. Wells

Burlington Coat Factory Warehouse
d.b.a. Burlington Coat Factory,

       Defendant,


                    NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE




       PLEASE TAKE NOTICE that pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i),

Plaintiff, Samuel Burningham, hereby voluntarily dismisses this action with prejudice.




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       RESPECTFULLY SUBMITTED this September 1, 2017.


                                                             /s/ Michael P. Studebaker
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                              CERTIFICATE OF SERVICE


        I hereby certify that on this 1st day of September, 2017 I electronically transmitted the
foregoing document to the Clerk’s Office using the CM/ECF system for filing and transmittal of
a Notice of Electronic filing to be served upon all e-filing counsel of record and e-mailed a copy
of the same to:



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